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  IT IS ORDERED as set forth below:



  Date: September 10, 2021
                                                       _____________________________________
                                                                  Lisa Ritchey Craig
                                                             U.S. Bankruptcy Court Judge

 _______________________________________________________________


                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN THE MATTER OF:                                )      CASE NUMBER
                                                 )
                                                 )
CASSANDRA JOHNSON LANDRY,                        )      18-55697-LRC
                                                 )
       Debtor.                                   )      IN PROCEEDINGS UNDER
                                                 )      CHAPTER 7 OF THE
                                                 )      BANKRUPTCY CODE

                                         ORDER

       This matter comes before the Court on Debtor’s Objection to Order Bank of America

Perfection of Service (Doc. 431, the “Objection to Order”). The Order Denying Debtor’s

Objection to Claim No. 12 (Doc. 416, the “Order”) denied Debtor’s Amended Objection to

Claim No. 12 (Doc. 408, the “Objection to Claim”), filed against Bank of America

(“Creditor”), for Debtor’s failure to state a claim upon which relief could be granted.

       The Objection to Order does not appear to seek any relief from the Court. Debtor

states in the Objection to Order that she perfected service on Creditor. The Court did not
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deny the Objection to Claim due to lack of proper service. In fact, the Order acknowledged

that the Objection to Claim was “timely filed and properly served.” Rather, the Court

denied the Objection to Claim because it failed to state a claim upon which relief can be

granted.

      For this reason, the Court finds that, to the extent Debtor seeks relief,

      IT IS ORDERED that the Objection to Order is DENIED.

                                 END OF DOCUMENT

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